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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                        :       CHAPTER 7
                                              :
SHARON MARIE WINSTON,                         :       CASE NO. 15-66160-JRS
                                              :
         Debtor.                              :
                                              :

TRUSTEE’S MOTION TO PAY EXCESS LIFE INSURANCE PROCEEDS TO DEBTOR

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Sharon Marie Winston (“Ms. Winston”), by and through undersigned

counsel, and files Trustee’s Motion to Pay Excess Life Insurance Proceeds to Debtor (the

“Motion”), and respectfully shows the Court the following:

                                     Jurisdiction and Venue

       1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408

and 1409(a).

                               Background and Relief Requested

       2.       On August 25, 2015 (the “Petition Date”), Ms. Winston filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended,

modified, or supplemented, the “Bankruptcy Code”) in the United States Bankruptcy Court for the

Northern District of Georgia, Atlanta Division (the “Court”), Chapter 7 Case No. 15-66160-JRS (the

“Bankruptcy Case”).




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       3.      Trustee was appointed and remains the duly acting Chapter 7 Trustee for the

Bankruptcy Estate.

       4.      On September 30, 2015, Trustee conducted and concluded the meeting of creditors,

held under 11 U.S.C. § 341 (a).

       5.      On Ms. Winston’s Schedule A – Real Property, Ms. Winston scheduled an interest in

that certain real property with a common address of 1117 Berry Hill Drive, Lithonia, GA 30058 (the

“Property”) with a scheduled interest in the property of $102,200.00. [Doc. No. 1 at Page 14 of 43].

 Upon information and belief, Ms. Winston owns a one-half interest in the Property.

       6.      On Ms. Winston’s Schedule D – Creditor’s Holding Secured Claims, Ms. Winston

scheduled a claim by Wells Fargo for $106,000.00 secured by the Property. [Doc. No. 1 at Page 19 of

43].

       7.      Ms. Winston did not claim an exemption in the Property, but Trustee determined that

the Bankruptcy Estate’s interest (the “Interest”) in the Property had a value of approximately

$10,000.00 to $15,000.00 after accounting for: (a) the costs of a sale (i.e., broker’s commission); (b)

Ms. Winston’s available but unclaimed exemption; (c) litigation with the co-owner under Section

363(h); and (d) payment to the Wells Fargo for its first position security interest.

       8.      On her Schedule B – Personal Property, Ms. Winston scheduled an interest in a

Whole Life Insurance Policy (Policy No. xxx-282-239) (the “Life Insurance Policy”) with a value

of $15,000.00. [Doc. No. 1 at Pages 15-16 of 43].

       9.      On her Schedule C - Property Claimed as Exempt (“Schedule C”), Ms. Winston

claimed an exemption in the cash value of the Life Insurance Policy in the amount of $8,230.00

under O.C.G.A. § 44-13-100(a)(6) (the “Life Insurance Exemption”).



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       10.       As part of his investigation of Ms. Winston’s financial affairs, Trustee determined

that the cash value of the Policy was $32,143.90 (“Cash Value”). As a result, the non-exempt value

of the Policy for the Bankruptcy Estate was $23,913.90.

       11.       After negotiations, Ms. Winston and Trustee agreed (the “Settlement Agreement”),

subject to Court approval, that1 Ms. Winston would waive and disclaim her Life Insurance

Exemption in exchange for the Trustee’s abandoning the Interest in the Property such that the Cash

Value (in the amount of $32,143.90) would be available for Trustee to distribute to holders of valid,

timely filed claims under 11 U.S.C. § 726.

       12.       On February 4, 2020, Trustee filed a settlement motion [Doc. No. 39], and on March

9, 2020, the Court entered an order [Doc. No. 42] granting the settlement motion and approving the

Settlement Agreement.

       13.       After much effort, including numerous emails and telephone calls to the life insurance

company, Trustee has liquidated the Policy and recovered $1,365.75 more than the $32,143.90 that

the Bankruptcy Estate was entitled to under the terms of the Settlement Agreement.

       14.       Trustee requests an order from the Court authorizing him to pay Ms. Winston this

$1,365.75 excess. In this regard, Trustee respectfully requests that the Court enter an order

substantially in the form of the order attached hereto and incorporated herein by reference as Exhibit

“A.”

         WHEREFORE, Trustee respectfully requests that the Court:

         (a)      Enter an order substantially in the form of the order attached hereto as Exhibit “A”



1      The following is a summary of the terms of the Settlement Agreement. The exact terms of the Settlement
Agreement are set forth in Exhibit “A” attached to the settlement motion [Doc. No. 39].




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and authorize Trustee to pay $1,365.75 to Ms. Winston; and

         (b)    Grant such other and further relief as the Court deems just or appropriate.

         Respectfully submitted this 21st day of September, 2020.

                                                      ARNALL GOLDEN GREGORY LLP
                                                      Attorneys for Chapter 7 Trustee

                                                      By: /s/ Michael J. Bargar
                                                         Michael J. Bargar
171 17th Street, N.W., Suite 2100                        Georgia Bar No. 645709
Atlanta, Georgia 30363-1031                              michael.bargar@agg.com
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                             EXHIBIT “A” FOLLOWS




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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

IN RE:                                                :       CHAPTER 7
                                                      :
SHARON MARIE WINSTON,                                 :       CASE NO. 15-66160-JRS
                                                      :
           Debtor.                                    :
                                                      :

    ORDER GRANTING TRUSTEE’S MOTION TO PAY EXCESS LIFE INSURANCE
                       PROCEEDS TO DEBTOR

           On September __, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Sharon Marie Winston (“Ms. Winston”), filed

Trustee’s Motion to Pay Excess Life Insurance Proceeds to Debtor [Doc. No. ___] (the

“Motion”) seeking an order authorizing Trustee to pay Ms. Winston $1,365.75 in excess cash

value of a certain Life Insurance Policy1 over and above what the Bankruptcy Estate was entitled

to under the terms of a Settlement Agreement previously approved by order of the Court.



1
           Capitalized terms not defined in this Order shall have the meanings ascribed to them in the Motion [Doc.
No. __].
                                                          1
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        Having considered the Motion, and for good cause shown, it is hereby

        ORDERED that the Motion is GRANTED: Trustee is authorized to pay Ms. Winston

$1,365.75 in excess funds that Trustee received from the cash value of the Life Insurance Policy.

                                      [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:
    Michael J. Bargar
    Georgia Bar No. 645709
    michael.bargar@agg.com
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Identification of parties to be served:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Road, Suite 555
Atlanta, GA 30305

Sharon Marie Winston
1117 Berryhilll Drive
Lithonia, GA 30058

Lauren A. Drayton
The Semrad Law Firm, LLC
303 Perimeter Center North, #201
Atlanta, GA 30346




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Michael J. Bargar
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                                    CERTIFICATE OF SERVICE


         This is to certify that I, Michael J. Bargar, am over the age of 18, and that I have this day served

a copy of the forgoing Trustee’s Motion to Pay Excess Life Insurance Proceeds to Debtor by first

class United States Mail, with adequate postage prepaid, on the following persons or entities at the

addresses stated:

Office of the United States Trustee                       Sharon Marie Winston
362 Richard B. Russell Building                           1117 Berryhilll Drive
75 Ted Turner Drive, SW                                   Lithonia, GA 30058
Atlanta, GA 30303
                                                          Lauren A. Drayton
S. Gregory Hays                                           The Semrad Law Firm, LLC
Hays Financial Consulting, LLC                            303 Perimeter Center North, #201
2964 Peachtree Road, Suite 555                            Atlanta, GA 30346
Atlanta, GA 30305

         This 21st day of September, 2020.
                                                          /s/ Michael J. Bargar
                                                          Michael J. Bargar
                                                          Georgia Bar No. 645709




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